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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                25-CR-60014-LEIBOWITZ/AUGUSTIN-BIRCH
                             CASE NO. -----------
                                      18 U.S.C. § 1001(a)(2)

 UNITED STATES OF AMERICA

 v.                                                                                  BM
 EDWARD MCINTOSH,
                                                                          Jan 29, 2025
                Defendant.
 _______ ______ /
                                                                                        MIAMI

                                        INFORMATION

        The United States Attorney charges that:

        On or about October 15, 2021, in Broward County, in the Southern District of Florida, in

 a matter within the jurisdiction of the United States Department of Veterans Affairs, an agency of

 the executive branch of the United States Government, the defendant,

                                    EDWARD MCINTOSH,

  did knowingly and willfully make a materially false, fictitious and fraudulent statement and

  representation, in that the Defendant stated in a VA Form 21-8940, "Veteran's Application for

  Increased Compensation Based on Unemployability," that the date he last worked full-time was

  May 15, 2018, when in truth and in fact, and as the Defendant then and well knew, he continued

  to work full-time after May 15, 2018, including on October 15, 2021, in violation of Title 18,

  United States Code, Section 1001(a)(2).




                                              UNITED STATES ATTORNEY


                                            £)��
                                              DANIEL ROSENFELD
                                              ASSISTANT UNITED STATES ATTORNEY
      Case 0:25-cr-60014-DSL Document 1 Entered on FLSD Docket 01/29/2025 Page 2 of 4
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                                                                 25-CR-60014-LEIBOWITZ/AUGUSTIN-BIRCH
UNITED STATES OF AMERICA                                          CASE NO.: ----------------

v.
                                                                  CERTIFICATE OF TRIAL ATTORNEY
EDWARD MCINTOSH,
------ - - --------I
                Defendant.                                        Superseding Case Information:
Court Division (select one)                                       New Defendant(s) (Yes or No) __
   D Miami        D Key West               □ FTP                  Number of New Defendants
   0 FTL             WPB□                                         Total number of new counts

I do hereby certify that:
     I.    I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
           witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.    I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
           their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

  3.       Interpreter: (Yes or No)�
           List language and/or dialect: --------
     4.    This case will take _0_ days for the parties to try.

     5.    Please check appropriate category and type of offense listed below:
           (Check only one)                         (Check only one)
           I   0 0 to 5 days                     □ Petty
           II D 6 to 10 days                     D Minor
           III D 11 to 20 days                   D Misdemeanor
           IV D 21 to 60 days                    0 Felony
           V D 61 days and over

     6.    Has this case been previously filed in this District Court? (Yes or No) No
           If yes, Judge ___________ Case No. ________________
     7.    Has a complaint been filed in this matter? (Yes or No)�
           If yes, Magistrate Case No. ___________
     8.    Does this case relate to a previously filed matter in this District Court? (Yes or No) �
           If yes, Judge___________ Case No.________________
     9.    Defendant(s) in federal custody as of -----------------------
     10.   Defendant(s) in state custody as of
     11.   Rule 20 from the_____ District of __________
     12.   ls this a potential death penalty case? (Yes or No) No
     13.   Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
           prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No)�
 14.       Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office prior
           to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) �
     15.   Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I. Sanchez
           during his tenure at the U.S. Attorney's Office, which concluded on January 22, 2023? �
     16.   Did this matter involve the participation of or consultation with now Magistrate Judge Marta Fulgueira
           Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on March 5, 2024? �

                                                              By:      /JJ�
                                                                       DANIEL ROSENFELD
                                                                       Assistant United States Attorney
                                                                       Court ID No.       A550308 l
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                             UNITED STA TES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                         PENAL TY SHEET

                           _ �R=D_M�C_IN�T�O�S_H
 Defendant's Name: _ _E_D_WA                   _         ______ _ _____ _

 Case No: -- - -------- - - ------ - - -------­

  Count#: 1

 False Statement to a FederalAgency

 Title 18, United States Code, Section 1001(a)(2)
 *Max.Term of Imprisonment: 5 years
 *Mandatory Min.Term of Imprisonment (if applicable): N/A
 * Max.Supervised Release: 3 years
 * Max.Fine: $ 250,000




   *Refers only to possible term of incarceration, supervised release, and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
    Case 0:25-cr-60014-DSL Document 1 Entered on FLSD Docket 01/29/2025 Page 4 of 4


AO 455 (Rev. 01/09) Waiver of an Indictment


                                       UNITED STATES DISTRICT COURT
                                                          for the
                                                Southern District of Florida

                  United States of America                   )
                             V.                              )      Case No. 25-CR-60014-LEIBOWITZ/AUGUSTIN-BIRCH
                  EDWARD MCINTOSH,                           )
                                                             )
                             Defendant                       )

                                              WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court ofmy rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:
                                                                                      Defendant ·s signature




                                                                                Signature of defendant's a/torney


                                                                                       RICK HERMIDA
                                                                               Printed name ofdefendant's altorney




                                                                                        Judge 's signature



                                                                                  Judge's printed name and title
